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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

) Chapter 11
In re: )
) Case No. 06-10578 (KJC)
WERNER HOLDING CoO. (DE), INC., et al., )
) (Jointly Administered)
Debtors. )
)

 

ORDER GRANTING MOTION OF THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS TO
SHORTEN TIME FOR NOTICE AND RESPONSE TO
MOTION TO CONVERT DEBTORS’ CASES TO CASES
UNDER CHAPTER 7 OF THE BANKRUPTCY CODE
Upon the motion of the Official Committee of Unsecured Creditors appointed in the
Chapter 11 cases of Werner Holding Co. (DE), Inc., and its related debtors and debtors in
possession (the “Committee”), to shorten notice (the “Motion to Shorten”) of the hearing on,
and deadline to respond to, the Committee’s motion to convert the Debtors’ cases to cases under
Chapter 7 of the Bankruptcy Code (the “Motion to Convert”); and the Court having determined
that the relief requested in the Motion to Shorten is appropriate; and it appearing that notice of
the Motion to Shorten was sufficient under the circumstances; and upon the record herein; and

after due deliberation thereon; and good and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

1. The Motion to Shorten is granted.
2. The Committee is authorized to submit the Motion to Convert with shortened
notice.

3. The Motion to Convert shall be heard at the August 1, 2007 hearing at 2:00 p.m.
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4, Any objections to the Motion to Convert must be filed and served so as to be

received on or before July 31, 2007 at 4:00 p.m. (prevailing Eastern time).

Dated: Wilmington, Delaware
July , 2007 The Honorable Kevin J. Carey
United States Bankruptcy Judge

 
